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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                          §
                                                 §
               Plaintiffs,                       §
                                                 §
        v.                                       §
                                                      Case No. 1:14-cv-254
                                                 §
UNITED STATES OF AMERICA, et al.,                §
                                                 §
                                                 §
               Defendants,
                                                 §
and                                              §
                                                 §
JANE DOE #1, JANE DOE #2, and JANE               §
DOE #3,                                          §
                                                 §
               Proposed Defendant–               §
               Intervenors                       §

                                    [PROPOSED] ORDER

        The motion to intervene of movants Jane Doe #1, Jane Doe #2, and Jane Doe #3 (Docket

Entry No. __) having come before this Court, and the Court having considered the papers

submitted in connection with said motion, and such other relevant information and evidence as

was presented to this Court, and good cause appearing, IT IS HEREBY ORDERED that:

        (1) Movants’ Motion for Leave to Intervene is GRANTED; and

        (2) Movants be entered as Defendants–Intervenors and their counsel served with all

relevant papers in the above-captioned action.



        IT IS SO ORDERED on this ________ day of ___________, 2015.
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                                              Hon. Andrew S. Hanen
                                         United States District Court Judge




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